    Case 1:21-cv-01780-TLA
             Case 20-12522-JTD
                           Document
                                Doc 6034-1
                                    4 Filed 01/04/22
                                             Filed 01/04/22
                                                       Page 1Page
                                                              of 5 PageID
                                                                    1 of 5 #: 26050




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
    In re:                                                       Case No. 20-12522 (JTD)

    MALLINCKRODT PLC., et al.,1                                  (Jointly Administered)

                            Debtors.
                                                                 Re: D.I. 5697, 5729, 5882 & 5886

                                   AMENDED NOTICE OF APPEAL

             PLEASE TAKE NOTICE that Attestor Limited, on behalf of itself and its affiliated

entities, including Avon Holdings I, LLC (collectively, “Attestor”) and Humana Inc. (“Humana,”

and, together with Attestor, the “Acthar Insurance Claimants”),2 creditors in the above-captioned

cases, by and through their undersigned counsel, appealed on December 20, 2021 (D.I. 5882) to

the United States District Court for the District of Delaware, pursuant to 28 U.S.C. § 158(a) and

rules 8002(a)(1) and 8003 of the Federal Rules of Bankruptcy Procedure, from the order (D.I.

5697) (the “Order”), sustaining the Debtors’ Objection to Certain Acthar-Related Administrative

Claims (D.I. 3529), entered on December 6, 2021, by the United States Bankruptcy Court for the

District of Delaware, and the oral bench ruling issued in connection with the Order (D.I. 5729)

(the “Bench Ruling”).

             PLEASE TAKE FURTHER NOTICE that the Acthar Insurance Claimants hereby


1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing
address is 675 McDonnell Boulevard, Hazelwood, Missouri 63042.
2
  Attestor entered into an agreement with Humana to pursue and participate in any proceeds of Humana’s claims
against the Debtors with respect to the distribution, marketing, and sale of H.P. Acthar Gel. See Verified Statement
of Willkie Farr & Gallagher LLP and Morris, Nichols, Arsht & Tunnell LLP Pursuant to Rule 2019 of the Federal
Rules of Bankruptcy Procedure, D.I. 2066. Attestor is also the transferee and owner of the Acthar-related claims filed
by United Healthcare Services, Inc. and OptumRx Group Holdings and OptumRx Holdings, LLC. See
Transfer/Assignment of Claim, D.I. 2317. Attestor is also the transferee and owner of certain claims, including
Acthar-related claims, filed by CVS Pharmacy, Inc. See Partial Transfer of Claim Other Than for Security, D.I. 3246.
Case 1:21-cv-01780-TLA
         Case 20-12522-JTD
                       Document
                            Doc 6034-1
                                4 Filed 01/04/22
                                         Filed 01/04/22
                                                   Page 2Page
                                                          of 5 PageID
                                                                2 of 5 #: 26051




clarify that they also appeal to the United States District Court for the District of Delaware,

pursuant to 28 U.S.C. § 158(a) and rules 8002(a)(1) and 8003 of the Federal Rules of Bankruptcy

Procedure, from the written opinion and final order entered on December 21, 2021, by the

Bankruptcy Court further to the Order and Bench Ruling (D.I. 5886) (the “Written Opinion”).

       PLEASE TAKE FURTHER NOTICE that a copy of the Order is attached hereto as

Exhibit A, a copy of the Bench Ruling is attached hereto as Exhibit B, and a copy of the Written

Opinion is attached hereto as Exhibit C.

       PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order, the

Bench Ruling, and the Written Opinion appealed from and the names, addresses and telephone

numbers of their respective attorneys are as follows:

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 Claimants:                                         affiliated Debtors:

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Case 1:21-cv-01780-TLA
         Case 20-12522-JTD
                       Document
                            Doc 6034-1
                                4 Filed 01/04/22
                                         Filed 01/04/22
                                                   Page 3Page
                                                          of 5 PageID
                                                                3 of 5 #: 26052




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                                          3
Case 1:21-cv-01780-TLA
         Case 20-12522-JTD
                       Document
                            Doc 6034-1
                                4 Filed 01/04/22
                                         Filed 01/04/22
                                                   Page 4Page
                                                          of 5 PageID
                                                                4 of 5 #: 26053




Dated: January 3, 2022
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         Case 20-12522-JTD
                       Document
                            Doc 6034-1
                                4 Filed 01/04/22
                                         Filed 01/04/22
                                                   Page 5Page
                                                          of 5 PageID
                                                                5 of 5 #: 26054




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